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                                 CERTIFICATE OF SERVICE

        I, Ethan Z. Tieger, hereby certify that the documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as nonregistered participants on February
20, 2018.

                                                    /s/ Ethan Z. Tieger
                                                    Ethan Z. Tieger




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